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        United States Court of Appeals
             for the Fifth Circuit                             United States Court of Appeals
                                                                        Fifth Circuit

                             _____________                            FILED
                                                                  May 28, 2025
                               No. 25-10534                      Lyle W. Cayce
                             _____________                            Clerk

W.M.M., on their own behalf and on behalf of others similarly situated;
F.G.M., on their own behalf and on behalf of others similarly situated;
A.R.P., on their own behalf and on behalf of others similarly situated,

                                                      Petitioners—Appellants,

                                    versus

Donald J. Trump, in his official capacity as President of the United States;
Pamela Bondi, Attorney General of the United States, in her official
capacity; Kristi Noem, Secretary of the United States Department of
Homeland Security, in her official capacity; United States
Department of Homeland Security; Todd Lyons, Acting
Director of the Director of United States Immigration and Customs Enforcement,
in his official capacity; United States Immigration and
Customs Enforcement; Marco Rubio, Secretary of State, in his
official capacity; United States State Department; Josh
Johnson, in his official capacity as acting Dallas Field Office Director for
United States Immigration and Customs Enforcement; Marcello
Villegas, in his official capacity as the Facility Administrator of the
Bluebonnet Detention Center; Phillip Valdez, in his official
capacity as Facility Administrator of the Eden Detention Center;
Jimmy Johnson, in his/her official capacity as Facility Administrator of
the Prairieland Detention Center; Judith Bennett, in her
official capacity as Warden of the Rolling Plains Detention Center,

                                                      Respondents—Appellees.
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                               No. 25-10534




             ________________________________

              Appeal from the United States District Court
                  for the Northern District of Texas
                        USDC No. 1:25-CV-59
             ________________________________

ORDER:
      IT IS ORDERED that Respondents’ opposed motion to remand
this case to the District Court for 60 days is DENIED.


                            LYLE W. CAYCE, CLERK
                            United States Court of Appeals
                                 for the Fifth Circuit
                                 /s/ Lyle W. Cayce

             ENTERED AT THE DIRECTION OF THE COURT




                                    2
